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 4
         Attomey for Plaintiff
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 6
                                   IN THE UNITED STATES DISTRICT COURT
 7                                      FOR THE DISTRICT OF OREGON
                                           PORTLAND DTVTSTON (3)
 8
          STEVEN M. NELSON,                               )
                                                          )
                                                                           19-1761
 9                                           Plaintiff,        Civil No.
                                                          )
10                V                                       )    COMPLAINT - CLAIM FOR RELIEF FOR
                                                          )    PERSONAL INruRY AND PROPERTY
1l        UNITED STATES OF AMERICA, bY                    )    DAMAGE UNDER SUITS IN ADMIRALTY
          and through the NATIONAL OCEANIC                )    and PUBLIC VESSELS ACTS
          and ATMOSPHEzuC
t2                                                        )
          ADMINISTRATION                                       Demand for Trial By Jury
                                                          )
13                                        Defendant.

t4               For a claim for relief against defendant, plaintiff alleges

15                                                            t.

T6               At all relevant times, the United States by and through its agency the Nationdl Oceanic and

t7       Atmospheric Administration owned, maintained and controlled the gangways                          to the vessel
18       OSCAR DYSON R-224 at the Port of Newport, Oregon.

t9                                                            2.

20               The plaintiff resides in Forest Grove, Oregon, and this court has jurisdiction of this case

2t       under the Suits in Admiralty Act, 46 U.S.C. $$ 30901 and 30906 and the Public Vessels Act,46

22       U.S.C. $$ 31101 and 31104.

23


         Page   I - COMPLAINT                                                                    LAW OFFICE OT
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 I                                                          3.

 2             On or about November 2, 2017 , the plaintiff was working as a heavy diesel mechanic for

 3   Peterson Machinery Company to repair diesel engines on the vessel OSCAR DYSON in Newport,

 4   Oregon.

 54.
 6             As plaintiff was leaving the vessel OSCAR DYSON on November 2,2017, the welds on

 7   the gangway on which he was walking broke, the gangway collapsed and hit the dock about 13

 8   feet below, and plaintiff injured his left shoulder and arm when he grabbed the handrail on the

 9   gangway as it collapsed.

10                                                          5.

11            The defendant's negligence was a substantial factor in causing the plaintiff s injuries in

12   one or more of the       following ways:

13            (a) It negligently maintained the gangway which collapsed by failing to properly weld its

14                 joints;

15            (b) It negligently failed to inspect the welds which supported the gangway at reasonable

16                 intervals so that it would have known that they were defective; and

17            (c) It negligently provided the use of the gangway to the plaintiff when it knew or should

l8                 have known      it was not safe.

t9                                                          6.

20            As   a   result of defendant's negligence, plaintiff tore the labrum and biceps tendon in his left

2I   shoulder and displaced the ulnar nerve in his left elbow. The plaintiff has also suffered nerve,

22   muscle and connective tissue injuries to his left arm and shoulder. These injuries are permanent,

23   and   plaintiff is entitled to non-economic damages for pain and suffering in excess of $750,000.


     Page 2   -   COMPLAINT                                                                         LAW OFFICE OF
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     r                                                      7.

    2             As a further result of defendant's negligence, plaintiff has incurred reasonable                        and

    3    necessary medical expense to date of about $35,000, and he       will incur additional future medical

    4    expenses.

    58.
    6             Also, as a further result of defendant's negligence, plaintiff has incurred a loss of income

    7    to date of about $250,000, and will incur an additional loss of income in the future in excess of

    8    $2,500,000.

    99.
10                Also, as a further result of defendant's negligence and his injuries, plaintiff was unable to

I   I    repair one of the tractors he uses for growing hazelnuts, and incurred labor expenses of 53,647.20,

12       and he also incurred costs of $25,000 for damages to hazelnut trees because he was unable to install

13       an inigation system to water the trees due to his injuries of November    2,2017.

14                Wherefore, plaintiff prays that this court enter judgment against defendant in the sum                       of

15       $2,8I3,647 .20 in economic losses and in excess of $750,000 in non-economic losses, plus his costs

16       and disbursements.

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                                                             CHARLES ROBINOWITZ.bSB NT+SI
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I9                                                           LAW OFFICE OF CHARLbS fu'dTNOWITZ
                                                             Attorney for Plaintiff
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 I                                           Demand for Trial by Jury

 2              To the extent the law allows it, the plaintiff requests   a   jury trial.

 J              Dated: November 1,2019

 4

 5


 6                                                                            ROB                       osB 691497
                                                            LAW OFFICE OF                                   ROBINOWITZ
 7                                                          Attorney for Plaintiff

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     Page   4   -   COMPLAINT                                                                          LAW OFFICE OF
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